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                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION




       SAS INSTITUTE INC.

                        v.                    CASE NO: 5:10-CV-25-FL

       WORLD PROGRAMMING LIMITED


                                     VERDICT FORM



                                 BREACH OF CONTRACT

       1.     Was Plaintiff SAS Institute damaged by WPL's breach of

              the SAS Learning Edition License Agreement?          CIRCLE YOUR

              ANSWER.

                     ~or        NO

       2.     If you answered "YES", enter the amount of actual damages

              in the space provided.      If you answered "NO", enter a

              nominal amount in the space provided.



                             FRAUDULENT INDUCEMENT/FRAUD

   3.         Did the Defendant WPL fraudulently induce plaintiff SAS

              to enter into the SAS Learning Edition License Agreement?

              CIRCLE YOUR ANSWER.

                    @ o r NO




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      IF YOU ANSWER "NO" TO QUESTION 3 , DO NOT ANSWER ANY MORE

      QUESTIONS.

      4.      If you answered "YES", was SAS damaged by the actions of

              WPL?   CIRCLE YOUR ANSWER.

                     ~or      NO

      5.      If you answered "YES", enter the amount of actual damages

              in the space provided.      If you answered "NO", enter a

              nominal amount in the space provided.



      6.      Is SAS entitled to punitive damages?         CIRCLE YOUR ANSWER.

                     ~rNO
      7.      If so, in what amount?

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                     UNFAIR TRADE AND DECEPTIVE PRACTICES

      You will answer the following questions only if you found that

      WPL fraudulently induced SAS to enter into the SAS Learning

      Edition License Agreement.

      8.      Was WPL's conduct in commerce or affecting commerce?

              CIRCLE YOUR ANSWER.

                     ~rNO
      9.     Was WPL's conduct a proximate cause of SAS's injury?

              CIRCLE YOUR ANSWER.

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10.    If you answered "YES" to Questions 8 and 9, enter the

      amount of actual damages in the space provided.            If you

      answered "NO", enter a nominal amount in the space

      provided.




                                      Date




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